                         Case 1:23-mj-00075-RMM Document 5 Filed 04/11/23 Page 1 of 1



AO 442 (Rev II/II)     Arrest Warrant



                                               UNITED STATES DISTRICT COURT
                                                                                     for the

                                                                        District of Columbia


                      United States of America
                                  v.                                                   )        Case: 1:23~mj~00075
                                                                                       )        Assigned to: Judge Meriweather, Robin M.
                               Frederic    Fiol
                                                                                       )        Assign Date: 4/7/2023
                                                                                       )        Description: COMPLAINT WI ARREST WARRANT
                                                                                       )
                                                                                       )
                                   Defendant


                                                                  ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                          to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                                  Frederic     Fiol
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment               o    Superseding Indictment                o       Information        o   Superseding Information                II Complaint
o     Probation Violation Petition                   o   Supervised Release Violation Petition                       o Violation    Notice      0 Order of the Court

This offense is briefly described as follows:

 18 U .S.C. § 1752(a)( 1)- Entering                  and Remaining         in a Restricted         Building     or Grounds,
 18 U .S.C. § 1752(a)(2)-               Disorderly       and Disruptive       Conduct        in a Restricted     Building       or Grounds,
40 U.S.C. § 5104(e)(2)(D)-                  Disorderly      Conduct      in a Capitol Building,
40 U.S.C. § 5104(e)(2)(G)-                  Parading,      Demonstrating,           or Picketing     in a Capitol       Building,
                                                                                                                                    2023.04.07
Date: __        ~04~/~07~/=2=02=3~_
                                                                                           ",-1''iiU.I'P ---   .qw~                 12:46:05 -04'00'
                                                                                                                       issuing officer's signature


City and state:                         Washin ton D.C.                                              Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                       Printed name and title


                                                                                    Return

          This warrant was received on (date)                  '1/0-:f'("'Z..'I             , and the person was arrested on (date)             /../"( I'L>
                                                                                                                                                     ,-   I
at (city and state)        ~          ~fovtt'D,      T,t

            '1/''Z-{{;3
Date: --~~----
